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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTzuCT OF TEXAS
                                     HOUSTON DIVISION

UNITED STATES OF AME,RICA,                          $
                          Plaintifl                 $
v.                                                  $ CIVL ACTION NO.
                                                    $
$1,555,953.56 U.S. CURRENCY SEIZED                  $
FROM SUNTRUST ACCOLT-NT 7706                        $
                          Defendant.                $




                      VEzuFIED COMPLAINT FOR CIVL FORFEITURE
                     IN REM AND NOTICE TO POTENTIAL CLAIMANTS

            The United States of America, Plaintiff, files this action for forfeiture in rem against

$1,555,953.56 in U.S. Currency seized from a SunTrust Bank account and alleges upon

information and belief the following:

                                   JUzuSDICTION AND VENUE

            1.     This Court has subject-matterjurisdiction pursuant to 28 U.S.C. $$ 1345 and

1   355.

            2.     Venue is proper in this Court pursuant to 28 U.S.C. $$ 1355(b), 1391(bX2),

and 1395.

                    DEFENDANT PROPERTY SUBJECT TO FORFEITURE

            3.     The Defendant Property is $1,55 5,953.56 in U.S. Currency seized by warrant

dated August 6, 2019, from a SunTrust Bank account with an account number ending in

7706, and held in the name of James E. Dellinger (the "Defendant Property"). The United

States alleges that the Defendant Property constitutes the proceeds of wire fraud.
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                      STATUTORY BASIS AND NATURE OF ACTION

         4.      This civil action in rem is brought to enforce the provisions of 18 U.S.C.      $


981(a)(1)(C), which provides for the forfeiture of any property, real or personal, which

constitutes or is derived from proceeds traceable to any offense constituting "specified

unlawful activity" (as defined in 18 U.S.C. $ 1956(cX7)), or a conspiracy to commit such

offense. Title l8 U.S.C. $ 1343 (wire fraud) is "specified unlawful activity" pursuant to

18 U.S.C. $1956(c)(7).      A conspiracy to commit wire fraud is a violation of 18 U.S.C.        $


t349.

         5.      With regard to the civil forfeiture of fungible property, Title 18, United States

Code, Section 984 provides that funds deposited in an account in a financial institution that

are found in the same account as the property involved in the offense that is the basis for

the forfeiture shall be subject to forfeiture so long as the action is commenced within one

year from the date of the offense.

                                             FACTS

         6.      In one variety of a business email compromise fraud, the perpetrator of the

fraud spoofs the official business email address of a legitimate vendor company, then uses

the spoofed email to convince an employee of the victim company to wire transfer

corporate funds to a fraudulent account that the employee believes is a legitimate vendor

account for a legitimate business transaction.

         7   .   In this case, the fraud perpetrators duped an employee of the victim company

into believing he was coresponding by email with a legitimate vendor company, then
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convinced the employee to change the vendor's bank account information to an account

controlled by the perpetrators. As a result of the fraud, the victim company sent a total of

$1,703,806.00 to the perpetrators. The victim company is located in Houston, Texas,

which is within the Southern District of Texas.

        8.    Specifically, on July 15, 2079, an accounts payable clerk at the victim

company received an email supposedly from the vendor company. The email requested

the employee provide payrnent status and advised of a forthcorning email with new banking

information. The employee subsequently received a second email directing the employee

to   deposit payment via ACH         to a new    account   at SunTrust Bank, account    number

xxxxx7706 ("Account    77   06" ).


       9.     As a result of the fraud, the victim company made the following wire

transfers to Account 77 06 totaling   $   1,703,806:


     Date                     Financial Transaction                   Amount Transferred

  712512019   Wire transfer from Victim Company to SunTrust                $ 1,35   8,906
              Bank Account x1706

  7126120t9   Wire transfer from Victim Company to SunTrust                 $344,900
              Bank Account x7706


        10.   Funds in the total amount of $I,555,953.56 were seized from SunTrust Bank

Account x7706, held in the name of James E,. Dellinger, which is not the name of the vendor

company. There is reason to believe the seized funds constitute wire fraud proceeds and

are subject to forfeiture pursuant to 18 U.S.C. $981(aXl)(C).



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                                         CONCLUSION

       I   1.    Under the totality of the circumstances,   it is believed that the Defendant
Property    is   subject   to forfeiture under l8 U.S.C. $ 981(a)(1)(C) as property     which

constitutes or is derived from proceeds traceable to specified unlawful activity, including

wire fraud, whether directly or through application of Section 984.

                           NOTICE, TO ANY POTENTIAL CLAIMANTS

       YOU ARE HEREBY NOTIFIED that if you assert an interest in the Defendant

Property subject to forfeiture and want to contest the forfeiture, you must file a verified

claim which fulfills the requirements set forth in Rule G of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions. A verified claim must be

filed no later than thirty-five (35) days from the date this Complaint has been sent.

       An answer or motion under Rule l2 of the Federal Rules of Civil Procedure must

be filed no later than twenty-one (21) days after filing the   clairr. The claim   and answer

must be filed with the United States District Clerk for the Southern District of Texas either

electronically or at the United States Courthouse, 515 Rusk Avenue, Houston, Texas

71002. A copy must be served upon the undersigned Assistant United         States Attorney at

the United States Attorney's Office, 1000 Louisiana, Suite 2300, Houston, Texas 17002.




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                                      REQUESTED RELIEF

       The United States   will   serve notice, along with a copy of the Complaint, on any

person who reasonably appears to be a potential claimant in this matter. The United States

seeks a final judgment forfeiting the Defendant Property to the United States and any other

relief to which it may be entitled.

                                                  Respectfully submitted.

                                                  RYAN K. PATzuCK
                                                  United St4tes Attorney



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                                          Verification

      I, Charles E. Dukes, III, a Special Agent with the United States Secret Service,
declare under penalty ofperjury, as provided by 28 U.S.C. g 1746, that I have read
the foregoing Verified Complaint for Civil Forfeiture In Rem and Notice to Potential
Claimants, and that the facts stated in paragraphs 3 and 6 through 11 of the
Complaint are based upon my personal knowledge, upon information obtained from
other law enforcement personnel, or upon information I obtained in the course of my
investigation. Those facts are true and cotect to the best of my knowledge and
belief.

          Executed on   the   3   day of October 2019.




                                            Charles E, Dukes,   III
                                            Special Agent
                                            United States Secret Service




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